           Case 4:21-cv-00855-JM-JTR Document 4 Filed 11/04/21 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

JOHNNY COX                                                                           PLAINTIFF

V.                                   No. 4:21-CV-00855-JM

CLAYTON EDWARDS, Captain
White County Jail, et al.                                                          DEFENDANTS


                                             ORDER

       Cox has not complied with the September 27, 2021 Order directing him to pay the $402

filing fee in full or file an application to proceed in forma pauperis. Doc. 2. The time to do so has

expired.

       Therefore, this case is dismissed without prejudice due to a lack of prosecution. Fed. R.

Civ. P. 41 (b); Local Rule 5.5(c)(2). It is certified, pursuant to 28 U.S.C. § 1915(a)(3), that an in

forma pauperis appeal from this Order would not be taken in good faith.

       IT IS SO ORDERED this 4th day of November, 2021.



                                                            ________________________________
                                                            UNITED STATES DISTRICT JUDGE
